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             1   LINDSAY ANNE WESTON
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             3   (530) 756-7774
             4

             5   Attorney for Defendant,
                 JESUS TAMAYO TAMAYO
             6

             7                IN THE UNITED STATES DISTRICT COURT
             8              FOR THE EASTERN DISTRICT OF CALIFORNIA
             9
                                                            ) No. CR-S-05-113-LKK
            10   UNITED STATES OF AMERICA,                  )
                                                            )
            11                  Plaintiff,                  ) STIPULATION TO CONTINUE
                                                            ) SENTENCING DATE AND
            12         v.                                   ) DISCLOSURE SCHEDULE;
                                                            ) ORDER
            13   JESUS TAMAYO TAMAYO,                       )
                                                            )
            14                  Defendant.                  )
                                                            )
            15                                              )
            16
                       THE PARTIES TO THIS ACTION, JESUS TAMAYO TAMAYO, by and
            17

            18   through his appointed counsel of record, Lindsay Anne Weston, and Plaintiff
            19
                 United States of America, through its counsel, Assistant United States Attorney
            20

            21   Robert Twiss, hereby stipulate and request this Court continue the sentencing date
            22
                 scheduled in this matter on November 14, 2006, at 9:30 a.m. to January 23, 2007,
            23

            24
                 at 9:30 a.m.

            25         This is the second request for a continuance which is made by the defense.
            26
                 It is to allow defense counsel additional time to conduct and complete
            27

            28   investigation of issues she deems pertinent to the sentence in this matter, more



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             1
                 specifically, information supporting undersigned defense counsel’s opinion that

             2   defendant suffers acquired cognitive dysfunction/brain damage. Additionally,
             3
                 defense counsel is unavailable on November 14, 2006, as she has oral argument
             4

             5   in the Ninth Circuit Court of Appeals. The basis for this continuance and the
             6
                 proposed dates for the disclosure and objections to the pre-sentence report have
             7

             8   been discussed with United States Probation Officer Terry Sherbondy.
             9
                 Undersigned defense counsel does not intend, absent unforeseen circumstances,
            10
                 to request any additional extensions for preparation.
            11

            12             The parties further request this Court adopt the following schedule for
            13
                 disclosure of and objections to the Pre-Sentence Report:
            14

            15   Sentencing Motions and Motions to Correct PSR:             January 16, 2007
            16
                 Filing and Disclosure of PSR to Court and parties:         January 9, 2007
            17

            18
                 Counsel’s written objections to PSR to Probation:          December 26, 2006

            19   Proposed PSR disclosed to parties:                         December 12, 2006
            20

            21

            22   ///////
            23
                 //////
            24

            25   //////
            26
                 //////
            27

            28




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             1
                 This Stipulation is also based on all records and pleadings in this matter.

             2                                           Resepctfully submitted,
             3

             4
                 DATED: October 11, 2006                 _______/s ______________
             5                                           LINDSAY ANNE WESTON
             6
                                                         Counsel for Defendant Tamayo

             7                                                 /s/
             8   DATED: October 16, 2006                 _______________________________
                                                         ROBERT TWISS
             9
                                                         Counsel for Plaintiff
            10                                           United States of America
            11

            12

            13

            14

            15                             [PROPOSED] ORDER
            16
                       GOOD CAUSE APPEARING, the sentencing is continued to January 23,
            17

            18
                 2007, at 9:30 a.m. and the above disclosure schedule is adopted.

            19   DATED: October 19, 2006
            20

            21

            22

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            28




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